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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


                                       :
                                       :
 LUCASYS INC.,                         :
                                       :
       Plaintiff,                      :
                                       :           CIVIL ACTION NO.
 v.                                    :           1:20-cv-2987-AT
                                       :
                                       :
 POWERPLAN, INC.,                      :
                                       :
       Defendant.                      :
                                    ORDER

      This case is scheduled for oral argument on May 7, 2024 on the cross

motions for summary judgment. This Order provides direction for that oral

argument. First, the Court RESETS the May 7 oral argument to begin at 1:30

p.m. instead of 2:00 p.m. Counsel should be prepared for the hearing to last until

5:30 p.m., if necessary.

       At the hearing, the Court will hear argument from counsel claim by claim

(with some claims grouped together as indicated below), and then will allow each

side ten minutes for closing arguments. As to each claim, each side will have

approximately the same time to argue, with Plaintiff arguing first and Defendant

arguing second. The Court will then determine if any follow-up rebuttals or

additional questions are necessary. The time amounts provided are just estimates.

If the Court finds the discussion helpful, it may extend the estimated time periods
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or allow the discussion to run longer. As to each claim (or set of claims), the Court

has provided below direction about: (1) topics the parties should be sure to address

and (2) questions that the parties should be sure to answer during the course of

their argument.



 Topic Topic          Minutes Parties to            Specific questions from the
 Order                per side focus on             Court
 1     Count I:       5        Proper               (1) Is the relevant market for
       Monopolization          analytical           purposes of the monopolization
       – Negative              framework            claims the Tax Software
       Tying (Section                               Market?
       2)

                                                    (2) Defendant asserts that
                                                    Count I is evaluated under the
                                                    rule of reason outlined in NCAA
                                                    v. Alston, 594 U.S. 69, 96
                                                    (2021), and Ohio v. Amex, 585
                                                    U.S. 529, 541 (2018)). Those
                                                    cases, however, involve claims
                                                    brought under Section 1 of the
                                                    Sherman Act. Other authority
                                                    indicates that Section 2 claims
                                                    are analyzed under a different
                                                    (but related) test. See Spanish
                                                    Broadcasting Sys. Of Fla. v.
                                                    Clear Channel Comm., 376 F.3d
                                                    1065, 1074 (11th Cir. 2004).
                                                    What are the parties’ positions
                                                    as to which analytical
                                                    framework governs the Section
                                                    2 claims?

 2       Count II:       10           Overall       (3) Does Plaintiff contend that
         Monopolization               theory and    customers cannot access their
         - Refusal to                 whether a     data outside of the PowerTax
         Supply (Section              threatened    software? (And therefore that a
         2)                           refusal to    refusal to supply a customer
                                      supply is     with PowerTax is de facto a
                                      sufficient    refusal to supply the customer
                                                    with its own data?). If so, what

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                                             record evidence supports this
                                             factual assertion.

                                             (4) Does Plaintiff rely on any
                                             authority more recent than the
                                             cited Supreme Court cases in
                                             1947 and 1951 for the
                                             proposition that a refusal to
                                             supply claim can be based on a
                                             threat not to supply versus an
                                             actual withdrawal of supply?
                                             Conversely, does Defendant
                                             have any authority saying that a
                                             threat of refusal to supply is
                                             insufficient?

3   Count III:       10       Whether        (5) On the second element of a
    Negative Tying            there has      per se violation — whether the
    (Section 1)               been a         products have been (negatively)
                              negative tie   tied — is this determination a
                              (element 2     question of law or question of
                              of a per se    fact? How should the Court
                              violation)     think about evaluating this
                                             element?

                                             (6) If the Court determines that
                                             this is not a per se violation and
                                             thus should be evaluated under
                                             the rule of reason (and Lucasys
                                             therefore has to show harm to
                                             competition), is Lucasys
                                             required to show harm to
                                             competition in the Tax Services
                                             Market? Or is harm to
                                             competition in the Tax Software
                                             Market sufficient?

                                             (7) On the same note — and as
                                             related also to Counts IV and V
                                             — what evidence does Lucasys
                                             rely on to show harm to
                                             competition in the Tax Services
                                             Market (as opposed to Tax
                                             Software Market)?

                                             (8) Relatedly, what specific
                                             evidence does PowerPlan rely

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                                            on to support its procompetitive
                                            justification?

                                            (9) Under the burden shifting
                                            framework (outlined in NCAA v.
                                            Alston, 594 U.S. 69, 96 (2021),
                                            and Ohio v. Amex, 585 U.S. 529,
                                            541 (2018)), who ultimately
                                            determines whether any alleged
                                            procompetitive rationale could
                                            be achieved through less
                                            anticompetitive means? The
                                            Court or a jury? Can Lucasys
                                            confirm that it seeks a jury trial
                                            on all claims?

4   Count IV:         5       Requirement (10) What evidence does
    Concerted                 of common   Lucasys rely on to show that
    Refusal to Deal           design      PowerPlan and customers (e.g.,
    (Section 1)                           FPL) had a “unity of purpose” or
                                          “common design” not to deal
                                          with Lucasys? See DeLong
                                          Equip. Co. v. Washington Mills
                                          Abrasive Co., 887 F.2d 1499,
                                          1515 (11th Cir. 1989) (requiring
                                          a plaintiff to establish, at
                                          minimum, that conspirators
                                          had a “unity of purpose of a
                                          common design and
                                          understanding, or a meeting of
                                          minds in an unlawful
                                          agreement.”) Specifically, what
                                          evidence supports a common
                                          design as opposed to customers
                                          simply being allegedly coerced
                                          by PowerPlan?

                                            (11) If evaluated under the rule
                                            of reason, what is the relevant
                                            market in which Lucasys must
                                            show harm to competition?
                                            What evidence does Lucasys
                                            rely on for harm to competition
                                            in the Tax Services Market for
                                            this claim?



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5   Count V:        10        Harm to        (12) What is the relevant market
    Exclusive                 competition    in which Lucasys must show
    Dealing                   in the Tax     harm to competition? What
    (Section 1)               Services       evidence does Lucasys rely on
                              Market         for harm to competition in the
                                             Tax Services Market for this
                                             claim?

                                             (13) If Lucasys claims that both
                                             markets are the “relevant
                                             markets,” what authority
                                             supports that the Court can
                                             assess anticompetitive effects in
                                             two relevant markets?

                                             (14) As related to this claim, and
                                             others, what specific trade
                                             secrets does PowerPlan assert
                                             are protected by the relevant
                                             provisions of the customer
                                             contracts? Relatedly, which of
                                             these trade secrets could be
                                             acquired by someone with end-
                                             user access? Please provide
                                             examples.

6   Count XI:      10         Noerr-         (15) On the question of whether
    Monopolization            Pennington     PowerPlan’s counterclaims were
    – Sham Trade              immunity       objectively reasonable – is this a
    Secret                    and            question of fact or law? Would
    Assertion                 specifically   a jury decide objective
    (Section 2)               the first      reasonableness? Or is this for
                              prong of the   the Court?
                              test
                                             (16) Relatedly, are there any
                                             predicate facts in dispute as to
                                             whether PowerPlan had
                                             probable cause to support the
                                             filing of the counterclaims? If
                                             so, what are those facts? If not,
                                             shouldn’t the Court decide
                                             objective reasonableness as a
                                             matter of law?
7   Count XII:     5          Overall        (17) It appears undisputed that
    Monopolization            theory of      the only Authorized Vendor
    – Sham Trade              claim; harm    Agreements that were executed
    Secret                                   are between PowerPlan and

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     Licensing – re            to             another tax service provider
     Authorized                competition    (RCC) related to two customers.
     Vendor                                   If this is accurate, how have the
     Agreements                               AVAs harmed competition in
     (Section 2)                              the Tax Software Market —
                                              where Lucasys has not been
                                              bound by such agreements?
8    Count VII and    5        Duplicative-   (18) What distinguishes these
     VIII: Tortious            ness of        two claims? If Plaintiff cannot
     Interference              claims         recover for the same injury
     with Contract                            twice, why are both claims
     and Malicious                            necessary? Would it be better,
     Interference                             for purposes of a jury trial, for
     with Business                            Plaintiff to voluntarily dismiss
                                              the “malicious interference with
                                              business” claim for clarity and
                                              efficiency?

9    Count IX and   5                         (19) For its defamation claims,
     X: Defamation                            is the only written statement
     and                                      that Lucasys relies on the email
     Defamation Per                           from Mr. Bertz to Mr.
     Se                                       Kleczynski? PowerPlan points
                                              out that the email does not
                                              explicitly mention Lucasys and
                                              therefore cannot support a
                                              defamation claim. How does
                                              Lucasys respond to this point?

                                              (20) As to defamation claims
                                              regarding oral statements
                                              discussed in Mr. Lantukh’s or
                                              Chang’s declarations, does
                                              Plaintiff believe any hearsay
                                              exception would apply to render
                                              these statements admissible?
10   Closing          10
     Arguments




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IT IS SO ORDERED this 9th day of April 2024.


                           ____________________________
                           Honorable Amy Totenberg
                           United States District Judge




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